     Case 2:07-cr-00144-RHW   ECF No. 184   filed 11/29/10   PageID.524 Page 1 of 1




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 3
                            UNITED STATES DISTRICT COURT
 4                         EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,            )   No. CR-07-144-RHW-2
 6                                          )
                 Plaintiff,                 )   ORDER FOLLOWING:
 7                                          )
       v.                                   )   5    INITIAL APPEARANCE
 8                                          )
       JOSHUA VAUSE,                        )   5    MOTION GRANTED
 9                                          )         (Ct. Rec. 180)
                 Defendant.                 )
10
11
12    Date of hearing: November 29, 2010.

13     5      Petition for action: Post-trial or post-guilty plea, pre-
              sentencing
14
       Defendant was advised of, and acknowledged, Defendant’s rights.
15
16     5      The court makes no findings as to the Petition.

17     5      The Defendant’s Motion to Modify (Ct. Rec. 180) is GRANTED.
              The Defendant shall be allowed to travel to Mercer Island,
18            Washington, for work purposes.

19          DATED November 29, 2010.
20
                               S/ CYNTHIA IMBROGNO
21                        UNITED STATES MAGISTRATE JUDGE
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      ORDER - 1
